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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                            CR 19–44–BLG–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 TASHA RENEE RAINEY,

                      Defendant.



      United States Magistrate Judge Timothy J. Cavan entered Findings and

Recommendation in this matter on June 19, 2019. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Cavan recommended this Court accept Tasha Renee Rainey’s guilty


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plea after Rainey appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to conspiracy to possess with intent to

distribute methamphetamine in violation of 21 U.S.C. § 846 as charged in Count I

of the Indictment.

      I find no clear error in Judge Cavan’s Findings and Recommendation (Doc.

62), and I adopt them in full.

      Accordingly, IT IS ORDERED that Tasha Renee Rainey’s motion to

change plea (Doc.52) is GRANTED and Tasha Renee Rainey is adjudged guilty

as charged in Count I of the Indictment.

      DATED this 19th day of July, 2019.




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